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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,               )
                                        )
      vs.                               )      CASE NO. 22-CR-40007-JPG
                                        )
MICHAEL E. PIERCE,                      )
                                        )
             Defendant.                 )


                                       ORDER

      It appearing from the record that the Defendant is financially unable to

obtain counsel, is in need of counsel, and is entitled to the appointment of counsel,

the Court hereby appoints the Federal Public Defender for the Southern District of

Illinois to represent the defendant.

      IT IS SO ORDERED.

      DATED:      April 8, 2022

                                               s/   Reona J. Daly
                                               HON. REONA J. DALY
                                               UNITED STATES MAGISTRATE JUDGE
